                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TENNESSEE
                                NORTHERN DIVISION AT KNOXVILLE

 KAREN HARRIS,                                           )
                                                         )
          Plaintiff,                                     )
                                                         )
 v.                                                      )
                                                         )               No. 3:11-cv-346
 AMERICAN GENERAL LIFE INSURANCE                         )
 COMPANY,                                                )
                                                         )
          Defendant.                                     )




                                   STIPULATION OF DISMISSAL


          The parties to this civil action stipulate, pursuant to Rule 41(a)(1)(A)(ii) of the Federal

 Rules of Civil Procedure, that the claims and request for relief set forth in Paragraphs 15-21 of

 Plaintiff’s Complaint and Paragraphs 3-5 of the Prayer for Relief, including the request for

 punitive damages, are hereby dismissed, with prejudice.

                                                 We so stipulate:

                                                  /s/ James D. Busch
                                                 James D. Busch, BPR #024090
                                                 Bill Hotz & Associates
                                                 6004 Walden Drive
                                                 Knoxville, TN 37919
                                                 Phone: (865) 637-8282
                                                 Fax: (865) 637-5297
                                                 jdbusch@hotzlaw.com




 K SRH1 311137 v1
 2918443-000004 11/19/2012
Case 3:11-cv-00346-DLB-HBG Document 20 Filed 11/28/12 Page 1 of 2 PageID #: 356
                                     /s/ S. Russell Headrick
                                    S. Russell Headrick
                                    Baker, Donelson, Bearman
                                      Caldwell & Berkowitz
                                    265 Brookview Centre Way, Ste 600
                                    Knoxville, TN 37919
                                    Phone: (865) 549-7204
                                    Fax: (865) 525-8569
                                    rheadrick@bakerdonelson.com




                                       2
 K SRH1 311137 v1
 2918443-000004 11/19/2012
Case 3:11-cv-00346-DLB-HBG Document 20 Filed 11/28/12 Page 2 of 2 PageID #: 357
